             Case MDL No. 3080 Document 1 Filed 05/09/23 Page 1 of 6




                 BEFORE THE UNITED STATES JUDICIAL PANEL ON
                         MULTIDISTRICT LITIGATION

IN RE: INSULIN PRICING                        §                       MDL NO. ____________
LITIGATION


               MOTION FOR TRANSFER OF ACTIONS PURSUANT TO
        28 U.S.C. § 1407 FOR COORDINATED OR CONSOLIDATED PRETRIAL
                                 PROCEEDINGS



       Movants the States of Arkansas, Illinois, Kansas, Mississippi, and Montana move this

Panel for an order pursuant to 28 U.S.C. § 1407 transferring the five actions identified in the

attached Schedule of Actions to the Southern District of Mississippi for coordinated or

consolidated pretrial proceedings.1 Transfer is appropriate for the following reasons:

    1. Movants seek transfer and coordination or consolidation of the five cases identified in the

       attached Schedule of Actions (Scheduled Actions). Movants expect additional states will

       file similar cases.

    2. The Scheduled Actions involve the Insulin Pricing Scheme, a conspiracy to artificially

       inflate the price of insulin. There are two active and essential participants in this

       conspiracy—the Insulin Manufacturer Defendants (Insulin Manufacturers)2 and the

       Pharmacy Benefit Manager Defendants (PBMs).3 The Insulin Manufacturers make 99%


1
  Although not movants, the California Attorney General, the Louisiana Attorney General, and
the Secretary of Justice of Puerto Rico filed suit on January 12, 2023, March 14, 2023, and
January 17, 2023, respectively. Each of the cases has been removed to federal court. Remand
motions are pending in the California and Puerto Rico actions.
2
  Insulin Manufacturers are Eli Lilly and Company, Sanofi-Aventis U.S. LLC, and Novo Nordisk
Inc.
3
  There are three sets of PBMs: (a) Caremark, consisting of CVS Health Corporation, CVS
Pharmacy, Inc., Caremark Rx LLC, CaremarkPCS Health LLC, and Caremark LLC; (b) Express
Scripts, consisting of Evernorth Health Inc., Express Scripts Inc., Express Scripts
Administrators, LLC, ESI Mail Pharmacy Service, Inc., Express Scripts Pharmacy Inc., and
             Case MDL No. 3080 Document 1 Filed 05/09/23 Page 2 of 6




       of insulins on the market. PBMs control the market and the downstream purchase price of

       the insulins.

   3. The Scheduled Actions are five actions filed by the Attorneys General of five states in

       their respective state courts. These five cases were removed to five different federal

       district courts alleging the same wrongful conduct on the part of Insulin Manufacturers

       and PBMs. The Scheduled Actions are pending in federal district courts in Arkansas,

       Illinois, Kansas, Mississippi, and Montana.

   4. The Scheduled Actions involve common questions of fact. Insulin Manufacturers and

       PBMs engaged in and continue to engage in the Insulin Pricing Scheme nationally to

       inflate insulin prices to the point of fiction and falsity. PBMs develop drug formularies

       that control which insulins are covered by insurance. Insulin Manufacturers negotiate

       with PBMs to pay significant sums to ensure the inclusion and preferential treatment of

       their insulins on these formularies, and arbitrarily raise their list prices for insulins to

       cover these payments.

   5. The Insulin Pricing Scheme results in false, artificially inflated insulin list prices that are

       not based on the cost of production, innovation, or other legitimate market forces. Rather,

       the insulins are captive to a vicious cycle of price increases in an industry in which there

       is no price competition among Insulin Manufacturers who produce this century-old drug.

   6. The Scheduled Actions involve a nearly identical factual background and substantially

       similar complaints against the same defendants.




Medco Health Solutions Inc.; and (c) OptumRx, consisting of UnitedHealth Group, Inc., Optum
Inc., OptumInsight Inc., OptumRx Holdings LLC, and OptumRx Inc. As reflected in the
Schedule of Actions, all three PBMs are defendants in all of the Scheduled Actions, but not all of
their constituent affiliates remain as defendants in all of the Scheduled Actions.
                                                   2
             Case MDL No. 3080 Document 1 Filed 05/09/23 Page 3 of 6




   7. Absent transfer, the parties and respective courts will be subject to potentially

       inconsistent pretrial rulings on discovery and substantive matters, duplicative discovery,

       including expert discovery, and the burden and inconvenience of litigating the same

       issues and producing many of the same witnesses and documents in numerous individual

       cases in different judicial districts.

   8. As explained further in the accompanying Brief in Support of this Motion, Movants

       request transfer of the Scheduled Actions to a single District for coordinated or

       consolidated pretrial proceedings.

   9. In support of this Motion, Movants file:

           a. Brief in Support of this Motion;

           b. Schedule of Actions including the complete name of each action as well as (1) a

               listing of the full names of each party including, to the extent applicable,

               additional parties such as movants, intervenors, etc.; (2) the district court and

               division; (3) the civil action number; and (4) the judge assigned for each action;

           c. Proof of Service, indicating service of papers on the clerk of each district court

               that may be affected by the motion including the name and address of each

               attorney served and the party represented by each;

           d. Oral Argument Statement; and

           e. Copies of all complaints and docket sheets for all actions listed on the Schedule of

               Actions.

       WHEREFORE, Movants respectfully request that the Panel grant its Motion and transfer

the Scheduled Actions to the Southern District of Mississippi for coordinated or consolidated

pretrial proceedings.



                                                 3
            Case MDL No. 3080 Document 1 Filed 05/09/23 Page 4 of 6




Dated: May 9, 2023

Respectfully submitted,

Counsel for Movants, the States of Arkansas, Illinois, Kansas, Mississippi, and Montana

/s/ Edwin S. Gault, Jr.                         /s/ W. Lawrence Deas
Edwin S. Gault, Jr.                             W. Lawrence Deas
Walter G. Watkins, III                          William Liston, III
Tanya D. Ellis                                  Liston & Deas, PLLC
Courtney C. Hunt                                605 Crescent Blvd., Suite 200
Daniel J. Mulholland                            Ridgeland, MS 39157
T. Joel Fyke                                    Tel: (601) 981-1636
Jennifer M. Studebaker                          Fax: (601) 982-0371
Forman Watkins & Krutz LLP                      lawrence@listondeas.com
210 E. Capitol Street, Suite 2200               william@listondeas.com
Jackson, MS 39201-2375
Tel: (601) 960-8600
Fax: (601) 960-8613
win.gault@formanwatkins.com
Trey.Watkins@formanwatkins.com
Tanya.Ellis@formanwatkins.com
courtney.hunt@formanwatkins.com
daniel.mulholland@formanwatkins.com
joel.fyke@formanwatkins.com
jennifer.studebaker@formanwatkins.com

/s/ Matthew C. McDonald                         /s/ Josh Wackerly
Matthew C. McDonald                             Josh Wackerly
David Nutt & Associates                         Joanne Cicala
605 Crescent Blvd., Suite 200                   R. Johan Conrod
Ridgeland, Mississippi 39157                    The Cicala Law Firm PLLC
Tel: (601) 898-7302                             101 College Street
mattm@davidnutt.com                             Dripping Springs, Texas 78620
                                                Tel: (512) 275-6550
                                                Fax: (512) 858-1801
                                                joanne@cicalapllc.com
                                                josh@cicalapllc.com
                                                johan@cicalapllc.com




                                            4
            Case MDL No. 3080 Document 1 Filed 05/09/23 Page 5 of 6




OF COUNSEL:

Kate Donoven
Kim DuVall Renteria
Arkansas Attorney General’s Office
323 Center Street, Suite 200
Little Rock, AR 72201
Tel: (501) 682-8114
Fax: (501) 682-8118
kim.renteria@arkansasag.gov
kate.donoven@arkansasag.gov

David F. Buysse
Deputy Chief, Public Interest Division
Illinois Attorney General’s Office
100 W. Randolph Street – 12th Floor
Tel: (312) 590-7844
david.buysse@ilag.gov

Darren Kinkead
Deputy Chief, Special Litigation Bureau
Office of the Attorney General of Illinois
100 W. Randolph Street – 11th Floor
Tel: (773) 590-6967
darren.kinkead@ilag.gov

Christopher Teters
Office of the Kansas Attorney General
120 SW 10th Avenue
Topeka, KS 66612-1597
Tel: (785) 296-3751
Fax: (785) 291-3699
chris.teters@ag.ks.gov

Tricia L. Beale
Mississippi Attorney General’s Office
1141 Bayview Ave., Suite 402
Biloxi, MS 39530
Tel: (228) 596-8803
tricia.beale@ago.ms.gov

Anna K. Schneider, MT Bar No. 13963
Bureau Chief, Consumer Protection
Montana Department of Justice
P.O. Box 200151
Helena, MT 59620-0151

                                             5
             Case MDL No. 3080 Document 1 Filed 05/09/23 Page 6 of 6




Tel: (406) 444-4500
Fax: (406) 444-3594
anna.schneider@mt.gov




                                       Certificate of Service

       I hereby certify that on May 9, 2023, the clerks of the relevant district courts and counsel

for the parties have been served with the foregoing by U.S. mail or electronic mail, as indicated in

the Proof of Service filed herewith.


                                                                /s/ Edwin S. Gault, Jr.
                                                                Edwin S. Gault, Jr.




                                                 6
